      Case 4:22-cv-00304-MW-MAF Document 46 Filed 09/16/22 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

LEROY PERNELL,
et al.,

            Plaintiffs,
v.                                          Case No.: 4:22cv304-MW/MAF


FLORIDA BOARD OF GOVERNORS
OF THE STATE UNIVERSITY
SYSTEM, et al.,

          Defendants.
_________________________/

     ORDER REQUIRING ATTORNEYS TO APPEAR AT TELEPHONIC
          SCHEDULING CONFERENCE IN RELATED CASE

      Now pending before this Court is a related case with a pending motion for

preliminary injunction. See Novoa, et al. v. Diaz, et al., Case No.: 4:22cv324-

MW/MAF. This Court has set the matter in Novoa for a telephonic scheduling

conference on the pending motion for preliminary injunction. Given the overlapping

issues these two cases present, and that Defendants are represented by the same

attorneys in both cases, the attorneys in this case shall appear at the telephonic

scheduling conference at 11:00 a.m. (ET) on September 21, 2022, to discuss running
      Case 4:22-cv-00304-MW-MAF Document 46 Filed 09/16/22 Page 2 of 2




the hearing schedules for both cases together.

      SO ORDERED on September 16, 2022.

                                       s/Mark E. Walker
                                       Chief United States District Judge
